                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,

             vs.

GERALD BENNETT,
                                                            INDICTMENT
                  Defendant.
_________________________________/

      The Grand Jury charges:

                             Kidnapping of a Minor Victim

      Between on or about January 3, 2018, and on or about January 24, 2018, in Kent,

Allegan, and Kalamazoo Counties, in the Southern Division of the Western District of

Michigan and elsewhere, the defendant,

                                 GERALD BENNETT,

and Quinn James and Daren Eckford unlawfully and willfully seized, confined,

kidnapped, abducted, and held M.D. for reward and otherwise, and, in committing

and in furtherance of the commission of the offense, used a means, facility,

and instrumentality of interstate commerce, including, but       limited to, one or

more of the following: Interstate Highway 96, United States Highway 131, a cellular

communications network, an electronic money transfer system, and a national banking

system.
       M.D. was approximately sixteen years old, and the defendant, GERALD

BENNETT, was approximately fifty-eight years old and was not a parent, grandparent,

brother, uncle, or individual having legal custody of M.D.

18 U.S.C. § 1201(a)(1)
18 U.S.C. § 1201(g)(1)
18 U.S.C. § 2



                                        A TRUE BILL


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                                        GRAND JURY FOREPERSON
MARK A. TOTTEN
United States Attorney


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DANIEL Y. MEKARU
AUSTIN J. HAKES
Assistant United States Attorneys
